Defendant in error, Susie J. Beckley, received a provisional high school certificate from the department of education of Ohio, authorizing her to teach English and history in any high school of Ohio for a period of four years from September 1, 1926. The board of education of West Perkins special rural school district, plaintiff in error herein, employed her to teach for one school year at a salary of $855. She began her work in September, 1928, at what is known as Hulls Corners School, and taught there until December 12, 1928, at which time she was dismissed by the board of education for alleged inefficiency. *Page 67 
She brought suit for her salary for the remainder of the school year after December 12th, and recovered judgment in the sum of $400. The board of education brings this proceeding in error for a reversal of the judgment.
Hulls Corners School was an elementary school, and under Section 7830, General Code, she was required to have "from a certificating authority having legal jurisdiction a certificate * * * that he [she] is qualified to teach orthography, reading, writing, arithmetic, English grammar and composition, geography, history of the United States, physiology, including narcotics, literature, and elementary agriculture, and that he [she] possesses an adequate knowledge of the principles of teaching; except as provided in Sections 7807-9, 7807-10, 7807-6, 7852 and 7831-1."
The sections referred to in the above-quoted passage have no bearing upon the instant case.
As the only certificate possessed by the defendant in error was provisional in character, and authorized her to teach English and history only, she did not have a certificate which would authorize her to teach in an elementary school such as that at Hulls Corners was.
Under Section 7786, General Code, the clerk of the board of education cannot lawfully draw an order for the payment of a teacher's salary until the teacher files with such clerk a written statement from the superintendent of schools showing that there has been filed with him a legal teacher's certificate (or a true copy thereof) to teach the subjects or grades taught. As the certificate on file authorized only the teaching of English and history, in *Page 68 
high schools of Ohio, it was not such a certificate as was required to teach in an elementary school. Without the required certificate, plaintiff below was not entitled to recover the unpaid portion of the salary.
This court finds, however, that a final judgment cannot be entered in favor of the plaintiff in error, for the reason that there was no motion to direct a verdict at the conclusion of all the evidence, nor any request submitted to the court for an instructed verdict. Woodman v. Stahl, 28 Ohio App. 464, 467,162 N.E. 705.
Attention is called to the fact that there is a question whether mandamus was not the proper remedy in the instant case.
For the reasons given the judgment will be reversed and the cause remanded for further proceedings according to law.
Judgment reversed and cause remanded.
LLOYD and RICHARDS, JJ., concur. *Page 69 